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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA

IOFINA, INC., IOFINA RESOURCES, INC
and IOFINA CHEMICAL,INC.,

      Plaintiffs,
                                                    Case No. CIV-14-1328-M
v

IGOR KHALEV and KIVA HOLDING,INC.,

      Defendants.

    PLAINTIFFS' MOTION TO STRIKE DEFENDANTS'RENEWED MOTION
                 FOR NDGMENT AS A MATTER OF LAW
        OR TO DEEM IT EFFECTIVE UPON "ENTRY OF JUDGMENT,"
                       WITH SUPPORTING BRIEF

       Although several claims remain pending and no final judgment has been entered in

this case, Defendants filed a Renewed Motion for Judgment as a Matter of Law or to

Alter or Amend Judgment ("Renewed Motion for JMOL") under Fed. R. Civ. P. 50(b)

and 59(e), on March 20, 2017 (Dkt. No. 328). Because there is no final appealable

judgment, Defendants' Renewed Motion for JMOL is premature under both Fed. R. Civ.

P. 50(b) and Fed. R. Civ. P. 59(e~both of which provide for such motions "after the

entry of judgment." Defendants' Renewed Motion for JMOL should be stricken, or

ordered to become effective upon "entry ofjudgment." This approach is the one taken by

another District Court in this Circuit in similar circumstances, and in several federal and

state procedural rules, as discussed below. See Proposition III.

      In the event the Court determines that it is appropriate to consider Defendants'

Renewed Motion for JMOL before "entry ofjudgment," Plaintiffs request that the Court
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order that Plaintiffs may respond to such motion within 10 days after the Court enters its

Order making that determination.

                        ARGUMENT AND AUTHORITIES

I.    The Court need not decide the present motion in the event it grants Plaintiffs'
      Motion to Stay Proceedings Pending Appeal.

      On March 15, 2017, Plaintiffs filed a Motion to Stay Proceedings Pending Appeal.

See Dkt. No. 321. As indicated in that motion, a stay of all proceedings pending

resolution of Plaintiffs' appeal in Tenth Circuit Appeal No. 17-6054 would prevent the

Court and parties from needlessly expending time and effort on matters upon which the

Tenth Circuit's decision is likely to give significant guidance on the material issues

remaining in future proceedings herein. Such a stay of proceedings would, of course,

obviate the need to determine at this time whether Defendants' Renewed Motion for

JMOL is effective before "entry of judgment" notwithstanding the provisions of Rule

50(b) and 59(e)to the contrary.

II.   Defendants' Motion for JMOL Is Premature Until "After Entry of
      Judgment."

      The Renewed Motion for JMOL is premature. Fed. R. Civ. P. 50(b) and 59(e)

both explicitly provide that a motion thereunder is due "[n]o later than 28 days after the

entry of judgment," with exceptions inapplicable here. (Emphasis added.) The 1991

Committee Comment to Rule 50(b) confirms the intent that the motion "must be made

within 10 [now 28] days after entry of a contrary judgment." The use of"judgment" in

Rule 50(b) refers to a final judgment, which under Rule 54 is "any order from which an

appeal lies." Fed. R. Civ. 54(a); see O. Hommel Co. v. Ferro Corp., 659 F.2d 340, 353-

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354 (3d Cir. 1981) (holding that "judgment" as used in Rule 50(b) means "final

judgment," explaining that Fed. R. App. P. 4(a)(4) assumes that a renewed motion for

judgment as a matter of law, formerly a JNOV motion, will be made after entry of final

judgment). Thus, the time to file a Rule 50(b) motion does not begin to run before entry

of a final appealable judgment. Similarly, Rule 59(e) was added in 1946 to make "clear

that the district court possesses the power ... to alter or amend a judgment after its

entry." 1946 Advisory Committee Comment.

       In this case, the Court's February 17, 2017 Judgment (Dkt. No. 314) on the jury

verdict adjudications of some of the claims asserted is not final under Rule 54(b). A final

appealable judgment under 28 U.S.C. § 1291 is "one that fully resolves all claims for

reliefl' and "terminates all matters as to all parties and causes of action." Gross v. Pirtle,

116 F. App'x 189, 193 (10th Cir. 2004) (citations and marks omitted). Thus, in a

"multiple claim/multiple party case, a district court order that adjudicates fewer than all

the claims raised or rules as to fewer than all the parties is not a `final decision"' unless

the district court certifies such order under Fed. R. Civ. P. 54(b). Id. (citations omitted).

In particular, a judgment that disposes of causes of action in the complaint, "while

leaving a counterclaim pending, is not a final judgment." Citizens Accord, Inc. v. Town

ofRochester, N.Y., 235 F.3d 126, 128(2d Cir. 2000). Furthermore,"a district court order

that resolves claims for damages presented to a jury at trial but fails to dispose of a claim

for injunctive relief before the district court does not constitute an appealable final

decision within the meaning of 28 U.S.C. § 1291." Harolds Stores, Inc. v. Dillard Dept

Stores, Inc., 82 F.3d 1533, 1541 (10th Cir. 1996).

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       Here, the Court has not fully resolved all claims for relief It has not disposed of

Defendants' counterclaims; it has not fully disposed of Plaintiffs' claim for injunctive

relief;l and it has not directed entry of a final judgment as to fewer than all claims or all

parties under Fed. R. Civ. P. 54(b).Z

       Defendants have incorrectly suggested elsewhere that this Court did issue a Rule

54(b) certification resulting in a final "judgment" under Fed. R. Civ. P. 54(a).3 This

Court did no such thing and would obviously know if it had. Tenth Circuit case law

follows the nationally accepted view on the requirement for a Rule 54(b) certification:

that it must be "explicit," reasoned, and clear as to the intent to certify. E.g., New Mexico

v. Trujillo, 813 F.3d 1308, 1316-17 (10th Cir. 2016) ("In the absence of express

determinations, we have declined to `look beyond the text of the district court's order to

determine whether it can be said to have made the requisite determinations.' [Citations

omitted.] In other words, when district courts fail to make express determinations, we do

not consider the parties' arguments about finality and no just reason for delay."). A Rule

54(b) certification must accordingly be supported by express and reasoned findings under

that rule:


  See Harolds Stores, Inc. v. Dillard Dept Stores, Inc., 82 F.3d at 1541. Indeed,
Defendants have conceded that the judgment is not final for this very reason. See
Defendants' Reply in Support of Motion to Strike Notice of Appeal [Dkt. No. 341], at 5
("Defendants ask the Court to ... set a schedule for finalizing [the] injunction so there
will be a final order ....")(emphasis added).
2 Defendants have conceded that their counterclaims remain pending, see Dkt. No. 336, at
7, and do not seriously deny that no final judgment has yet been entered herein.
3 Defs.' Resp. to Pls.' Mot. to Strike Defs.' Mot. for Attorneys' Fees [Dkt. No. 345], at 4-
5.

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            This determination [of"finality" and "no just reason for delay"] must
            appear in the district court's order certifying the matter for appeal. We
            have interpreted the "expressly determines" language of the rule to
            require district courts to make two explicit determinations in the
            certification order. First, the district court must determine the
            judgment is final. Second, it must determine there is no just reason for
            delay of entry of its judgment. In doing so, district courts should
            "clearly articulate their reasons and make careful statements based on
            the record supporting their determination of `finality' and `no just
            reason for delay' so that we can review a 54(b) order more
            intelligently and thus avoid jurisdictional remands."

New Mexico v. Trujillo, 813 F.3d at 1316 (citations omitted).

       Moreover, contrary to Defendants' assertions, the Court's orders entered on

February 17, 2017 are integrally related to the remaining unadjudicated issues, as

Defendants have themselves asserted, and are thus not even eligible for a Rule 54(b)

certification. E.g., CCPS Transp., LLC v. Sloan, 611 F. App'x 931, 933 (10th Cir. 2015)

("[H]owever they are pleaded, different remedial requests do not make for different

claims.... See, e.g., Liberty Mut. Ins. Co., 424 U.S. at 744, 96 S.Ct. 1202 (explaining

that `where assessment of damages or awarding of other relief remains to be resolved,'

judgments `have never been considered to be "final" within the meaning of 28 U.S.C. §

1291"')); Jordan v. Pugh, 425 F.3d 820, 829 (10th Cir. 2005) ("Rule 54(b) is not

intended to provide a mechanism for splitting multiple claims into separate lawsuits.

Partial final judgment is intended to serve the limited purpose of protecting litigants from

undue hardship and delay in lawsuits involving multiple parties or multiple claims.

[Citation omitted.] Application of the rule should preserve the `historic federal policy

against piecemeal appeals.' Curtiss—Wright Corp., 446 U.S. at 8, 100 S.Ct. 1460 [quoting

other Supreme Court authority]")

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       Because there is no final judgment within the meaning of Rule 54(a), Defendants'

Renewed Motion for JMOL is premature, and thus not yet effective.

III.   Because the Renewed Motion for JMpL is premature, the Court should
       strike it or order that it becomes effective upon "entry ofjudgment."

       Because Defendants' Motion for JMOL is not yet effective, the Court should

either strike it, or Order that it becomes effective upon "entry ofjudgment" as provided in

Rule 50(b) and Rule 59(e) —the approach taken by another District Court in this Circuit,

discussed below. Since the time to file Rule 50(b) and 59(e) motions starts to run upon

"entry ofjudgment," all such motions from both sides will be due "28 days after entry of

judgment" and the Court will be able to decide all of the related issues together, as the

drafters of the Federal Rules of Civil Procedure intended for purposes of judicial

efficiency.

       Defendants' Renewed Motion for JMOL is premature and ineffective until "entry

ofjudgment," as case law from another•district court in this circuit confirms:

       While Rule 50(b) does not prohibit a renewed motion for judgment as a
       matter of law prior to the entry ofjudgment, it does provide a time limit for
       filing such a motion that is triggered by entry of the judgment. Although
       defendant's motion is certainly timely, it is premature since judgment has
       not yet been entered.

Walls v. MiraCorp, Inc., 2011 WL 1636930, at *2(D. Kan. 2011); see also Aguinaga v.

John Morrell & Co., 1989 WL 47089, at * 1 (D. Kan. 1989)(citing Rule 50(b) and stating

that the court "does not believe that a motion for JNOV is procedurally appropriate at this

time, since the liability judgment is interlocutory.").

       In Walls v. MiraCorp, Inc., the District of Kansas outlined the appropriate course

of action for a district court to take when faced with such a premature motion of this sort.
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After explaining that the Rule 50(b) motion filed in that case was premature because no

final judgment had yet been entered, the Court stated:

             Therefore, the Court will consider defendant's motion for judgment as
             a matter of law to be timely filed as of the date of the entry of
             judgment and the response and reply deadlines shall be tied to that
             date.

Walls v. MiraCorp, Inc., 2011 WI., 1636930, at *2 (emphasis added.) This is the same

approach taken in other federal and state procedural rules governing federal and state

practitioners as well—to make a premature motion "effective" upon entry of a final

judgment.4

       Refusing to entertain further briefing on Defendants' premature Renewed Motion

for JMOL until entry of final judgment makes particular sense in this case because it will

necessitate the procedure contemplated by the Federal Rules of Civil Procedure, under

which the Court considers all such motions together "after entry of judgment." As

previously stated, Plaintiffs intend to file their own motion for JMOL under Fed. R. Civ.

P. 50(b) once the Court enters final judgment in this case. As a practical matter, it would

be inefficient and confusing for the Court to consider full briefing on Defendants'

premature Rule 50(b) and 59(e) motions now and on Plaintiffs' Rule 50(b) motion later

after final judgment is entered. Instead, the Court should be afforded the opportunity to




4 E.g., Fed. R. App. P. 4(a)(2)(premature notice of appeal "treated as filed on the date of
and after the entry [ofjudgment]."); 12 O.S. § 653(C)(premature motion for new trial
"deemed filed immediately after the filing of the judgment or decree"); 12 O.S. § 698
(premature motion for judgment notwithstanding the verdict "deemed filed immediately
after the filing of the judgment or decree").

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efficiently consider all such motions from all parties at the same time, once final

judgment is entered, as contemplated by the Federal Rules of Civil Procedure.

                                      CONCLUSION

       For the above reasons, Plaintiffs respectfully request that the Court either strike

Defendants' Renewed Motion for JMOL, or Order that the Renewed Motion for JMOL

shall become effective upon "entry of judgment," the approach taken in Walls and in

similar federal and state procedural rules addressing premature motions (see Prop. III and

footnote 4).

      In the event the Court determines that it is appropriate to consider Defendants'

Renewed Motion for JMOL before "entry ofjudgment," Plaintiffs request that the Court

order that Plaintiffs may respond to such motion within 10 days after the Court enters its

order making that determination.



Dated this 10th day of April, 2017.             Respectfully submitted,

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                             CERTIFICATE OF SERVICE

       I hereby certify that on this 10th day of April, 2017, I electronically transmitted
the foregoing document to the Court Clerk using the ECF System for filing. Based on the
records currently on file, the Court Clerk will transmit a Notice of Electronic Filing to the
following ECF registrants:

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